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 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10           v.                                        ) 2:14-CR-053-GMN-(CWH)
                                                       )
11 WILLARD P. WITHAM, SR.,                             )
                                                       )
12                          Defendant.                 )
13                       AMENDED PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on June 24, 2014, defendant WILLARD P. WITHAM, SR. pled guilty to

15 Count Thirteen of a Fifteen-Count Indictment charging him with Distribution of Methamphetamine in

16 violation of Title 21, United States Code, Section 841(a)(1). Indictment, ECF No. 11; Change of Plea,

17 ECF No. 41; Plea Agreement, ECF No. 42; Preliminary Order of Forfeiture, ECF No. 43.

18            This Court finds defendant WILLARD P. WITHAM, SR. agreed to the forfeiture of the

19 property set forth in the Plea Agreement and the Forfeiture Allegation of the Indictment. Indictment,

20 ECF No. 11; Change of Plea, ECF No. 41; Plea Agreement, ECF No. 42; Preliminary Order of

21 Forfeiture, ECF No. 43.

22            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

23 has shown the requisite nexus between property set forth in the Plea Agreement and the Forfeiture

24 Allegation of the Indictment and the offense to which defendant WILLARD P. WITHAM, SR., pled

25 guilty.

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 1           The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 2 924(d)(1) and (2)(C) and Title 28, United States Code, Section 2461(c); Title 21, United States Code

 3 Section 853(a)(1) and (a)(2); and Title 21, United States Code, Section 881(a)(11) and Title 28, United

 4 States Code, Section 2461(c):

 5                 1. one (1) Taurus .38 caliber revolver bearing manufacturer’s serial number LC40499;

 6                 2. one (1) Taurus model PT 740 .40 caliber semi-automatic handgun bearing

 7                     manufacturer’s serial number SDT94901;

 8                 3. one (1) Kel-Tec model PF-9 9 millimeter semi-automatic handgun bearing

 9                     manufacturer’s serial number S3Y89;

10                 4. one (1) Smith & Wesson model SD40VE .40 caliber semi-automatic handgun

11                     bearing manufacturer’s serial number HED2760;

12                 5. and all ammunition;

13                 6. $290.00 in United States Currency;

14                 7. $2,810.00 in United States Currency; and

15                 8. An in personam criminal forfeiture money judgment of $14,570 in United States

16                     Currency

17 (all of which constitutes “property”).

18           This Court finds the United States of America is now entitled to, and should, reduce the

19 aforementioned property to the possession of the United States of America.

20           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

21 United States of America should seize the aforementioned property.

22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

23 WILLARD P. WITHAM, SR. in the aforementioned property is forfeited and is vested in the United

24 States of America and shall be safely held by the United States of America until further order of the

25 Court.

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 1           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 2 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 3 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

 4 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

 5 name and contact information for the government attorney to be served with the petition, pursuant to

 6 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

 7           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

 8 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

 9 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

10 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

11 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

12 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

13 petition and the relief sought.

14           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

15 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later than

16 thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

17 after the first day of the publication on the official internet government forfeiture site,

18 www.forfeiture.gov.

19           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

20 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

21 following address at the time of filing:

22                  Michael A. Humphreys
                    Assistant United States Attorney
23                  Daniel D. Hollingsworth
                    Assistant United States Attorney
24                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
25                  Las Vegas, Nevada 89101.
26 . . .

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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 2 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 3 following publication of notice of seizure and intent to administratively forfeit the above-described

 4 property.

 5          DATEDthis
            DATED this___
                       10th
                          dayday of July,
                              of July,    2014.
                                       2014.

 6

 7                                                    ________________________________
                                                       Gloria M. Navarro, Chief Judge
 8
                                                 UNITEDUnited
                                                        STATESStates District JUDGE
                                                                 DISTRICT     Court
 9

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                                           PROOF OF SERVICE
 1

 2         I, Mary Stolz, Forfeiture Support Associates Paralegal, certify that the following individuals

 3 were served with copies of the Preliminary Order of Forfeiture on DATE, 2014, by the below

 4 identified method of service:

 5         Electronic Filing

 6         Monique N. Kirtley
           Federal Public Defender
 7         411 E Bonneville Suite 250
           Las Vegas, NV 89101
 8         Monique_Kirtley@fd.org
           Counsel for Jukkirs Suwansang
 9
           David T. Brown
10         Brown, Brown & Premsrirut
           520 S. 4th Street, 2nd Floor
11         Las Vegas, NV 89101
           master@brownlawlv.com
12         Counsel for William P. Witham, Sr.

13         Thomas F. Pitaro
           1212 S. Casino Center Blvd.
14         Las Vegas, NV 89104
           thomaspitaro@yahoo.com
15         Counsel for David A. Horn

16                                       /s/ Mary M. Stolz
                                         Mary M. Stolz
17                                       Forfeiture Support Associates Paralegal

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